Case 1:17-cr-00201-ABJ  Document
     Case 1:17-cr-00201-ABJ      317-6 325-5
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                 EXHIBIT '
        Case 1:17-cr-00201-ABJ  Document
             Case 1:17-cr-00201-ABJ      317-6 325-5
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  'DWH7LPH           )URP         7R   0HWKRG      7\SH                                      &RQWHQW                                          6RXUFH


                                                                                                                                                  3URGXFWLRQ
   3DXO0DQDIRUW        :KDWV$SS    &KDW                                     7KLVLVSDXO                                   0DQDIRUWL&ORXG
                                                                                                                                              3URGXFWLRQ

                                                                                                                                                  3URGXFWLRQ
                                                                KWWSZZZEXVLQHVVLQVLGHUFRPIRUPHUHXURSHDQOHDGHUVPDQDIRUW
   3DXO0DQDIRUW        :KDWV$SS    &KDW                                                                                    0DQDIRUWL&ORXG
                                                                              KDSVEXUJJURXS"U 8.	,5 7
                                                                                                                                              3URGXFWLRQ

                                                                                                                                                  3URGXFWLRQ
   3DXO0DQDIRUW        :KDWV$SS    &KDW           :HVKRXOGWDON,KDYHPDGHFOHDUWKDWWKH\ZRUNHGLQ(XURSH            0DQDIRUWL&ORXG
                                                                                                                                              3URGXFWLRQ


                                                                                                                                            0DQDIRUWL&ORXG
   3DXO0DQDIRUW        :KDWV$SS 3KRQH&DOO                      $WWHPSWHGSKRQHFDOO1RGXUDWLRQ
                                                                                                                                              3URGXFWLRQ



                        :KDWV$SS    &KDW                       KL+RZDUH\RX"+RSH\RXDUHGRLQJILQH                    3URGXFWLRQ



                        :KDWV$SS    &KDW         0\IULHQG3LVWU\LQJWRUHDFK    WREULHIKLPRQZKDW
VJRLQJRQ            3URGXFWLRQ



                        :KDWV$SS    &KDW            ,I\RXKDYHDFKDQFHWRPHQWLRQWKLVWR       ZRXOGEHJUHDW             3URGXFWLRQ


                                                              %DVLFDOO\3ZDQWVWRJLYHKLPDTXLFNVXPPDU\WKDWKHVD\VWRHYHU\ERG\
                        :KDWV$SS    &KDW      ZKLFKLVWUXHWKDWRXUIULHQGVQHYHUOREELHGLQWKH86DQGWKHSXUSRVH         3URGXFWLRQ
                                                                                        RIWKHSURJUDPZDV(8


                        7HOHJUDP    &KDW                            +H\KRZDUH\RX"7KLVLV                                   3URGXFWLRQ



                        7HOHJUDP    &KDW                              +RSH\RXDUHGRLQJILQH                                   3URGXFWLRQ



                        7HOHJUDP    &KDW         0\IULHQG3LVWU\LQJWRUHDFK    WREULHIKLPRQZKDW
VJRLQJRQ             3URGXFWLRQ


                                                              %DVLFDOO\3ZDQWVWRJLYHKLPDTXLFNVXPPDU\WKDWKHVD\VWRHYHU\ERG\
                        7HOHJUDP    &KDW      ZKLFKLVWUXHWKDWRXUIULHQGVQHYHUOREELHGLQWKH86DQGWKHSXUSRVH         3URGXFWLRQ
                                                                                        RIWKHSURJUDPZDV(8


                                                              ,I\RXKDYHDFKDQFHWRPHQWLRQWKLVWR LWZRXOGEHJUHDW,WZRXOGEH
                        7HOHJUDP    &KDW                                                                                         3URGXFWLRQ
                                                                   JRRGWRJHWWKHPFRQQHFWHGWRGLVFXVVLQSHUVRQ3LVKLVIULHQG


                                                               +L7KLVLV 0\IULHQG3LVORRNLQJIRUZD\VWRFRQQHFWWR\RXWRSDVV
                         :KDWV$SS    &KDW                                                                                           3URGXFWLRQ
                                                                             \RXVHYHUDOPHVVDJHV&DQZHDUUDQJHWKDW


                                                              +H\7KLVLV           0\IULHQG3DVNHGPHDJDLQWRKHOSFRQQHFWKLP
                         :KDWV$SS    &KDW                                                                                         3URGXFWLRQ
                                                                                      ZLWK     &DQ\RXKHOS"


                                                              +H\0\IULHQG3KDVDVNHGPHDJDLQLIWKHUHLVDQ\ZD\WRKHOSFRQQHFW
                         7HOHJUDP    &KDW                                                                                         3URGXFWLRQ
                                                                                        KLPWKURXJK



                         7HOHJUDP    &KDW                             ,WULHGKLPRQDOOQXPEHUV                                 3URGXFWLRQ
